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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

THE WINFIELD COLLECTION, LTD,      ) Case No. 2:17-cv-10559
                                   ) Hon. Judge Robert H. Cleland
         Plaintiff,                )
    vs.                            )
                                   )
                                   )
ABOVE AND BEYOND, INC, and MICHAEL )
CHAKLOS, jointly and/or severally, )
                                   )
                                   )
         Defendants.               )


 JOHN T. HERMANN (P-52858)                  DAVID A. WELLING
 Attorney for Plaintiff/Ctr-Defendant       Attorney for Defendant/Ctr-Plaintiff
 2684 West Eleven Mile Road                 55 S. Miller Rd., Ste. 203,
 Berkley, MI 48072                          Fairlawn, Ohio 44333
 (248) 591-9291                             (330) 865-4949


               NOTICE OF NEW CONTACT INFORMATION

      Please note that pursuant to LR 11.2, the undersigned is hereby notifying all

counsel of record of the following new contact information for Plaintiff’s counsel:

                           John T. Hermann (P-52858)
                          2684 West Eleven Mile Road
                               Berkley, MI 48072
                                 (248)591-9291
                     Email: Hermannlawoffices@comcast.net

 Dated: July 28, 2017                   s/ John T. Hermann
                                        JOHN T. HERMANN (P-52858)
                                        Attorney for Plaintiff /Counter-Defendant
                                        2684 West Eleven Mile
                                        Berkley, MI 48072
                                        (248) 591-9291
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                        CERTIFICATE OF COMPLIANCE

        Pursuant to E.D. Mich. LR 5.1(a) I hereby certify that the foregoing has been

prepared using one of the font and point selections approved by the Court in E.D.

Mich. LR 5.1(a)(3). This document was prepared using Times New Roman (14

pt.).


 Dated: July 28, 2017                    s/ John T. Hermann
                                         JOHN T. HERMANN (P-52858)
                                         Attorney for Plaintiff /Counter-Defendant
                                         2684 West Eleven Mile
                                         Berkley, MI 48072
                                         (248) 591-9291

                  CERTIFICATE OF ELECTRONIC SERVICE

        I hereby certify that I electronically filed the foregoing paper with the Clerk

of the Court with the ECF system which will send notification of each filing to the

following:

                                David A. Welling, Esq.

 Dated: July 28, 2017                    s/ John T. Hermann
                                         JOHN T. HERMANN (P-52858)
                                         Attorney for Plaintiff /Counter-Defendant
                                         2684 West Eleven Mile
                                         Berkley, MI 48072
                                         (248) 591-9291
